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IN THE UNITED STATES DISTRICT COURT w
FOR THE WESTERN DISTRICT OF TENNESSEE
EASTERN DIVISION

 

 

ROGER D. RILEY,
Plaintiff,

vs. Civ. No. 04-1267-T[P

WAL-MART STORE #335, et al.,

Defendants.

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AMENDED SCHEDULING ORDER

 

Before the court is plaintiff's Motion to Amend Scheduling
Order, filed on August 2, 2005 (dkt #36). On August ll, 2005, the
court held a telephone conference with the parties. For good cause
shown, and no opposition thereto, the motion is GRANTED. The
scheduling order is amended as follows:

INITIAL DISCLOSURES PURSUANT TO Fed.R.Civ.P. 26(a)(1):
August 30, 2005

JOINING PARTIES; September 30, 2005
AMENDING PLEADINGS: september 30, 2005
INITIAL MoTIoNs To DIsMISS= october 31, 2005
coMPLETING ALL DISCOVERY= Merch 1, 2005

(a) DOCUMENT PRODUCTION= Mareh 1, 2006

(b) DEPOSITIONS, INTERROGATORIES AND REQUESTS FOR
ADMISSIONS: MarCh l, 2006

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(c) EXPERT WITNESS DISCLOSURE (Rule 26):

(l) DISCLOSURE OF PLAINTIFF'S RULE 26 EXPERT
INFORMATION: April 3, 2006

(2) DISCLOSURE OF DEFENDANT'S RULE 26 EXPERT
INFORMATION: May 3, 2006

(3) EXPERT WITNESS DEPOSITIONS: June 2, 2006
FILING DISPOSITIVE MOTIONS: July 3, 2006
OTHER RELEVANT MATTERS:
The plaintiff informed the court at the August ll, 2005r
telephone conference that the plaintiff intends to add new parties.
If the new parties are unable to meet these deadlines, they may

file a motion to amend the scheduling order.

The February 27, 2006 trial date is cancelled. The district
judge will notify the parties of the new trial date.

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TU M. PHAM
United States Magistrate Judge

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Date 0

IT IS SO ORDERED.

 

       

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Notice of Distribution

This notice confirms a copy of the document docketed as number 44 in
case 1:04-CV-01267 Was distributed by faX, mail, or direct printing on
August 16, 2005 to the parties listed.

 

 

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Honorable .1 ames Todd
US DISTRICT COURT

